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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-10076-CR-MOORE


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  ALEXIS VISCAINO CERVANTES, et al.,

            Defendants.
  ______________________________
                                   O R D E R

             THIS CAUSE is before the Court on defendant Arley Ceballo

  Gonzalez’ Motion for Bond Reduction (DE 91).         A hearing was held on

  the motion on November 7, 2008.        Being fully advised, it is hereby
              ORDERED   AND   ADJUDGED    that   the   motion   is   GRANTED.

  Defendant Arley Ceballo Gonzalez’ bond is reduced to $20,000

  Corporate Surety with a Nebbia requirement.          All other conditions

  previously set on October 6 & 10, 2008, remain in full force and

  effect.
              DONE AND ORDERED in Key West, Florida, this 14th         day of

  November, 2008, nun pro tunc November 7, 2008.




  Copies to:

  AUSA Russ Brown (MIA)
  Phil Horowitz, Esq.
